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8
                        UNITED STATES DISTRICT COURT
9
                       CENTRAL DISTRICT OF CALIFORNIA
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     EMMANUEL PAUL,                             )    Case No. CV 20-2403-VAP (JEM)
12                                              )
                         Plaintiff,             )
13                                              )    ORDER ACCEPTING FINDINGS AND
                  v.                            )    RECOMMENDATIONS OF UNITED
14                                              )    STATES MAGISTRATE JUDGE
     CMC,                                       )
15                                              )
                         Defendant.             )
16                                              )
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            Pursuant to 28 U.S.C. Section 636, the Court has reviewed the pleadings, the
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     records on file, and the Report and Recommendation of the United States Magistrate
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     Judge. No Objections to the Report and Recommendation have been filed within the time
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     allowed for Objections. The Court accepts the findings and recommendations of the
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     Magistrate Judge.
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            IT IS ORDERED that Judgment shall be entered dismissing this action without
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     prejudice.
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     DATED: October 19, 2020
26                                                       VIRGINIA A. PHILLIPS
                                                    UNITED STATES DISTRICT JUDGE
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